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 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
 2                           NASHVILLE DIVISION

 3   SABRINA RECHELLE CORLEY,       )
                                    )
 4                  Plaintiff,      )
                v.                  )        No. 3:12-CV-01250
 5                                  )
     WAL-MART,                      )
 6                                  )        JURY TRIAL
                    Defendant.      )
 7   _______________________________)        VOLUME IV OF IV

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10
                    BEFORE THE HONORABLE KEVIN H. SHARP
11                       TRANSCRIPT OF PROCEEDINGS
                             NOVEMBER 7, 2014
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     APPEARANCES:
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15   For the Plaintiff:              ROCKY MCELHANEY, ESQ.
                                     AFSOON HAGH, ESQ.
16                                   Rocky McElhaney Law Firm, P.C.
                                     1311 Sixth Avenue North
17                                   Nashville, Tennessee 37208

18   For the Defendant:              GEORGE ANDREW ROWLETT, ESQ.
                                     Howell & Fisher
19                                   300 James Robertson Parkway
                                     Court Square Building
20                                   Nashville, Tennessee 37201-1107

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22
     PREPARED BY:        WYNETTE C. BLATHERS, RMR, CRR
23                       Official Court Reporter
                         801 Broadway - Room A-837
24                       Nashville, TN 37203
                         (615) 401-7221
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 1                                  I N D E X

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 4   THE VERDICT                                                            4

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 1             The above-styled cause came on to be heard on

 2   November 7, 2014, at 9:25 a.m., before the Honorable Kevin H.

 3   Sharp, when the following proceedings were had, to-wit:

 4             COURTROOM DEPUTY:      All rise, please.

 5             The United States District Court for the Middle

 6   District of Tennessee is now in session, the Honorable Kevin

 7   H. Sharp presiding.

 8             THE COURT:    Thanks.    Y'all can be seated.      All right.

 9   Let's bring the jury in.

10             (Whereupon, the jurors entered the courtroom.)

11             THE COURT:    All right.     Thanks.   Y'all can be seated.

12   All right.    Everybody is back.      Everybody is rested and ready.

13   Everyone followed my instruction not to talk about the case?

14   All right.    So now that I've brought you in here I'm going to

15   send you right back to the room and ask you to continue your

16   deliberations and try to reach a verdict in this case.            All

17   right?   Okay.   Thank you.

18             (Whereupon, the jurors exited the courtroom.)

19             THE COURT:    All right.     The numbers are still the

20   same?    Okay.   All right.    We'll let you know when we hear

21   something.

22             MR. MCELHANEY:      Thank you, your Honor.

23             COURTROOM DEPUTY:      All rise, please.

24             (Whereupon, a recess was taken from 9:28 a.m. until

25   11:23 a.m.)




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 1             COURTROOM DEPUTY:      All rise, please.

 2             THE COURT:    All right.     Thanks.   Y'all can be seated.

 3   It's my understanding we have a verdict.         Let's bring the jury

 4   in.

 5             (Whereupon, the jurors entered the courtroom.)

 6             THE COURT:    All right.     Thanks.   Y'all can be seated.

 7   Ms. Worthy, it's my understanding the jury has reached a

 8   unanimous decision?

 9             JUROR:    Yes.

10             THE COURT:    Okay.    If you can please hand that to the

11   security officer.

12             All right.    We, the jury, unanimously answer the

13   question submitted by the Court as follows:          One, do you find

14   the defendant to be at fault?       Answer, yes.     Two, do you find

15   the plaintiff to be at fault?       Answer, yes.

16             If you have found both parties to be at fault,

17   considering all the fault at one hundred percent, what

18   percentage of fault do you attribute to each of the parties?

19   Plaintiff 10 percent.      Defendant 90 percent.

20             Number Four, decide the amount of damages sustained

21   by the plaintiff.     State the amount of damages, if any, you

22   find were sustained by plaintiff.        The answer is $525,000.

23   It's signed by the foreperson and dated.

24             Is that everyone's unanimous decision?

25             THE JURY:    Yes.




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 1             THE COURT:    All right.      Thank you very much.     I

 2   appreciate your service.      Thank you for coming back again

 3   today and putting the effort into it.         If you have time and

 4   can hang around, I'd like to talk to you afterwards for a few

 5   minutes, so if y'all can just stay in the back.           Thank you.

 6             (Whereupon, the jurors exited the courtroom.)

 7             THE COURT:    All right.      Ms. Corley, your lawyer did

 8   one heck of a job.     Not to take anything away from

 9   Mr. Rowlett, juries do what they do.         Everybody heard the

10   evidence.   So everyone knows the deadlines for filing motions.

11   If there are any, get them in, and I'll rule on them.            All

12   right.   Anything else y'all want to talk about?

13             MR. MCELHANEY:     No, your Honor.

14             MS. HAGH:    Thank you, you Honor.

15             THE COURT:    All right.      Thank you.

16             COURTROOM DEPUTY:      All rise, please.

17             (Whereupon, the proceedings were adjourned at 11:27

18   a.m.)

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 1                           REPORTERS CERTIFICATE

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 4             I, Wynette C. Blathers, Official Court Reporter for

 5   the United States District Court for the Middle District of

 6   Tennessee, with offices at Nashville, do hereby certify:

 7             That I reported on the Stenograph machine the

 8   proceedings held in open court on November 7, 2014, in the

 9   matter of SABRINA RECHELLE CORLEY V. WAL-MART, Case No.

10   3:12-CV-01250; that said proceedings in connection with the

11   hearing were reduced to typewritten form by me; and that the

12   foregoing transcript (Volume IV of IV, Pages 1 through 5) is a

13   true and accurate record of the proceedings.

14             This the 2nd day of January, 2015.

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18                                     _______________________________
                                   /s/ Wynette C. Blathers, RMR, CRR
19                                     Official Court Reporter

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